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ATM UE ULC OME CUM Met: totem

United States Bankruptcy Court for the:

;

District of

3 . 3 “b & 0 Chapter

PG bg

LJ] Check if this is an
amended filing

Case number (if known):
i

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/25

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Alina Investment Zle

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer FA _ 3 L 6 BFL

Identification Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal place
of business
~ ‘ — ‘ =
I%o06 SE AERC (seSbecT ad AERC nN] Rd
Number Street Number Street
SAG

City C State ZIP Code

Location of principal assets, if different from

principal place of business
Clackamas SoG SE AgRie. Cre (Ony Ra
County 2
Number Stre

Hs

s. Debtor’s website (URL)

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Debtor Mina Luesmedt LLC Case number (if known), a 5 - 3 1 6 é 0

Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
UL) Partnership (excluding LLP)
(2 Other. Specify:

A. Check one:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

L) Railroad (as defined in 11 U.S.C. § 101(44))

LY Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Cal Clearing Bank (as defined in 11 U.S.C. § 781(3))

C) None of the above

B. Check alf that apply:

L) Tax-exempt entity (as described in 26 U.S.C. § 501)

L) Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3) ,

LL] Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://;www.uscourts.gov/four-digit-national-association-naics-codes .

Check one:

CL) Chapter 7
QO] Chapter 9
Chapter 11. Check all that apply:

C) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $3,424,000 (amount subject to adjustment on

( & 4/01/28 and every 3 years after that).
CK) ’ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the

debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(4)(B).

Ci The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
chooses to proceed under Subchapter V of Chapter 11.

LJ A plan is being filed with this petition.

C] Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

CJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities

Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing

for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

12b-2.
td Chapter1200 - ee
No
LC) Yes. District When Case number
MM / DD/YYYY
District When Case number

MM / DD/YYYY

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2

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Name

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Hr

C) Yes. Debtor Relationship

District When

MM / DD /YYYY

Case number, if known

11, Why is the case filed in this
district?

Check all that apply:

if] Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

C] A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

we

C) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ail that apply.)

Ll) it pases or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

C] It needs to be physically secured or protected from the weather.

CJ it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C) Other

Where is the property? [1806 (E pDERIC GAY “iT Ra

Number Street |

Is the property insured?
LI No

CL) Yes. Insurance agency

Contact name

Phone

a Statistical and administrative information

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

Official Form 201

Check one:
Funds will be available for distribution to unsecured creditors.

CQ) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

4 1-49 (2 4,000-5,000 C) 25,001-50,000
50-99 L} 5,001-10,000 UO) 50,001-100,000
C) 100-199 C) 10,001-25,000 LJ More than 100,000
L) 200-999

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3

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Debtor Al bie Lyne edt LLC Case number (if known), a 9 ~ 3 J 6 @ 0

C) $0-$50,000 $1,000,001-$10 million ©) $500,000,001-81 billion
18. Estimated assets OQ) $60,001-$100,000 C) $10,000,001-$50 million  $1,000,000,004-$10 billion
( $400,001-$500,000 ©) $50,000,001-$100 million ©) $10,000,000,001-$50 billion
QQ $500,001-$1 million C) $100,000,001-$500 million CL] More than $50 billion
oo ©) $0-$50,000 conser million O $500,000,001-$1 billion
16. Estimated liabilities Q $50,001-$100,000 U $10,000,001-$50 million O $1,000,000,001-$10 billion
CJ $100,001-$500,000 CJ $50,000,001-$100 million CI $10,000,000,001-$50 billion
CJ $500,001-$1 million (J $100,000,001-$500 million C] More than $50 billion

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of ig
petition.
debtor

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on

x

np

7
Signature of authorized representative of debtor

Tile OU WER

18. Signature of attorney x Date

Signature of attorney for debtor MM /DD /YYYY

Printed name

Firm name

Number Street

City State ZIP Code
Contact phone Email address

Bar number State

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TRUM Leet lice meme (oul Unt aR er= bt

Debtor name

United States Bankruptcy Court for the: District of
95-310 at ial) C) Check if this is an

Case number (If known): . amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest

Unsecured Claims and Are Not Insiders 42/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20

largest unsecured claims.

Name of creditor and complete Name, telephone number, and Nature of the claim Indicate if Amount of unsecured claim
mailing address, including zip code _ email address of creditor (for example, trade claim is if the claim is fully unsecured, fill in only unsecured
contact debts, bank loans, contingent, claim amount. If claim is partially secured, fill in
professional unliquidated, totai claim amount and deduction for value of
services, and ordisputed collateral or setoff to calculate unsecured claim.
government
contracts)
Total claim, if Deduction for Unsecured
partially value of claim
secured ; collateral or :
setoff

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1

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11

12

13

14

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25-31620

Case number (if known)

Debtor
Name
Name of creditor and complete Name, telephone number, and Nature of the claim Indicate if Amount of unsecured claim
mailing address, including zip code — email address of creditor (for example, trade claim is If the claim is fully unsecured, fill in only unsecured
contact debts, bank loans, contingent, ~ claim amount. If claim is partially secured, fill in
professional unliquidated, {otal claim amount and deduction for value of
services, and ordisputed collateral or setoff to calculate unsecured claim.
government
contracts)
Total claim, if © Deductionfor | Unsecured
partially - value of claim
secured collateral or
setoff

15

16

17

18 |

20

19

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2

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